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Pro Se 1 (Rev. 12/1`6) complaint for a civil case

 

 

 

 

 

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UNIT .LED STATES DISTRICT CoUPT C HARLOTTE’ NC
forthe JUN 1 1 2918
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_ v ,_ _ LJS i)istz"ict Cc)urt
_wW?lZDivision \f\/ez> tent Di ottiet mci *\§C.
) caseNo. j : /5’ cu 302 - Fa w
_ (to be filled in by the Clerk ’s Qf)'ice)
Li&i°\ A/\lt©l)\) c: 6320- sSi
P.lainn;g(s) )
(Write the fall name of each plaintiff who isjilt'ng this complaint . _ ` \
lf the names of all the plaintwls cannot fit in the space above, ) Jury Tnal- (Check One) E Yes MNO
please write “see attached" in the space and attach an additional )
page with the full list ofnames.) )
..v.. )
\ 7 § )
"\>~YA )\) 5 Lz.,\ c> T"\`c )
C;/o ELL_\©TTE mawol §
uq/éh¢‘luiii(§y )
(Write the fall name of each defendant who ts being sued. lf the
names of all the defendants cannot fit in the space above, please )
write “see attached ” in the space and attach an additional page )

with the full list ofnames.)

 

 

I. The Partles to This Complaint
A. The Plaintiff(s)

 

 

 

 

 

 

 

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needed.

Name L\ 3 A A/\)Tot w E

Street Address 2,5`§`3 ( f>IQYK\C\/\)lAC/`{ A/UE ihk

city and county Ci~\ AR@TT€

sine ana zip slide /\9@`\¢\~(+ C,-,AV\LO m ,U A 255 10 &>

Telephone Number "'?O L\`r 2,<§"7 13 § g

E-mailAddress l , ,\9 A;',\jT~@ <§O\ @ \€ P;H~O C> 1~. Q\CVVL

 

 

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an ‘
individual, a government agency, an organization or a corporation For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

Page l of 5
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Prn Se l (Rev. 12/16) Complaint for a Civil Case

Defendant No. 1

 

 

 

 

 

 

Name 5:7,6/\ o`vc`E m 966 /\r® il

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Szree: Address \ oz@\ c,@/\)~ELL'P~.© ¢\?b

City and C°“nty m 1 r\)'\` \-+1 ¢_L

State and 'Zip Code M 012;{'\~§ C‘{X/(Z_,® (/| /\./A' 29 117
Telephone Number '] OL\, § C`.S \'3 b 6

E-mail Address (ifknown)

 

Defendant No. 2
Nanle
10b 0!` Title (ifknown)

 

 

S‘a“~eet Address

City and County

State and Zip Code
TeIephone Number
E-majl Address (ifknown)

 

 

 

 

 

Defendant No. 3
Name
Job or Title (ifknown)

 

 

,_._4. A

Sf?cec Addfé§§
City and County
State and Zip Code

 

 

 

Telephone Number
E-mail Address (ifknown)

 

 

Defendant No. 4
Name
Job 01' Title (l'fknown)
Street Address
City and County

Stnfe and 7.ip ngg

 

 

 

 

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Telephone Number
E-mail Address (ifknown)

 

 

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

II.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (lirnited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
@Federal question |::| Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case. x _
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B. If'the Basis for Juris'diction Is Diversity of Citizenship

S/”/ l-l f-\`\`<ASSW\ E)\/ 1“

l. The Plaintiff(s)

a.

lf the plaintiff is an individual

The nlainfiff` fname) , is a citizen nf` the

anna l.nuuu,oan, ` endan va

 

State Of (mzme)

 

If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

 

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lu\/l Lll\»/ law \J.l l'll\i um\¢ \.,1 llu[l‘¢/

 

and has its principal place of business in the State of (name)

 

(If more than one plaintz'jjfis named in the complaint attach an additional page providing the
same information_jbr each additional plainti[f)

2. The Defendant(s)

a.

If the defendant is an individual

 

 

 

The defendant, (name) , is a citizen of
the State cf (aame) . Cr is a citizen cf
gbreign nation)

Page 3 of 5

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Pro Se l (Rev. 12/16) Cornplaint for a Civil Case

lII.

 

b. If the defendant is a corporation
The defendant, (name) , is incorporated under
11.,1_ ._l`.a1..f'|4_1.`l`/ \ _...11.,.'1~
me laws or me state or (name) , ana nas 1ts

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ,

 

and has its principal place of business in (mzme)

 

(If more than one defendant is named in the complaint attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at

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Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed.

f 3 66 airmen/53

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages clairned, the arnounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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Lisa Antoine
2831 Parkway Avenue #B
Q.harlntte, NC 28208

.._-~

704-287-2558
6/8/2018

Western District of North Caro|ina
401 W. Trade Street
Charlotte, NC 28202

SECT|ON 111 OF COMPLA|NT --- Statement of C|aim
TO THE ASS|GNED D|STRlCT COURTJUDGE:

l Lisa Antoine who resides at the above address declare, l am of firm and competent sound of
mind at the time of the incident and as of present and hereby present my statement as briefly
as possible to the courts. This complaint brought forth is for an incident which happened at
Elliotte |Vlanor while l was hired by the current owner Ryan Elliotte for a full-time job opening as
a l\/|edication Technician/CNA.

On April 30th 2017 at about 10:00 am-11:00 am, l was at home when l received a phone call
from Ryan Elliotte and was asked to come in to work early to have a meeting about a client's
daughter Diann Browning, who had her father l\/|r.Grant living at the facility. Ryan told me lVlr.
Grant's daughter was upset and he Wanted to talk to me about a few things. l worked the grave-
yard shift from 11 pm-7:OO am for that day.

l left for work early and arrived on the premises, and decided to question some of the co-
workers who was there before l saw Ryan in order to prepare myself for the matter at hand. |
confronted Stacy and Cody about what this meeting was about, and | was told that l\/|r. Grant's
daughter Diann Browning had put up posters within the premises (regu|ar standard typing
paper) all over the walls. They continued explaining to me they were in both Building 1 and 2, in
the kitchens, day-rooms, ha||s, and basically everywhere. l was also informed that what was
written on many of these posters was not very pleasant, and was some slanderous, bias,
racially inclined, insulting, harassing, and detogatory statements that caused deferrmation of
my character which created a typical hostile environment that was plastered everywhere in
my work place by an outsider. They even asked me what | had done to deserve this, since l had
only just began working there? l was speechless and had no answer and felt very much ridiculed
from the information l had obtained. Even some of the clients at the facility told me the same
likewise and l felt so belittled and disgusted and did not know what to say or do. The staff also
told me that family members and clients at the facility was very much surprised to see so many
posters all over buildings 1 and 2 and wondered why she would put them there saying these

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types of things with my name on it and she does not your employer.

l finally meet with Ryan and he explained to me the same, that l\/lr. Grant's daughter had done
this at another facility to another staff which Ryan's mother was in charge there. Ryan also told
me he took down the other posters, which denied me the privilage of seeing what was exactly
said about me, but he did confirm they were some nasty and insulting remarks. He actually
admitted that he left the best one up but removed the others and tried to persude me to meet
with l\/lr. Grant's daughter so she can feel comfortable by me to provide her father with his
medication. l did not respond because l feel he was not looking out for my best interest, but
supported the unacceptable behavior by an outsider to come to the facility to slander and

deffer my character as an employee=

SECT|ON lV OF COMPLA|NT - Relief

The incident that occured has left me tramitized and l had to resign due to a conflicit of interest
from me not being able to perform under duress through the actions done at this facility. l was
not able to function adequately according to my scope of practice through the slanderous, bias,
racial, and humiliating words that led residents and staff member to perceive me with a
question mark at my composure.

l r|l‘ v\
l Ubl

defendant pay for loss wages, slander, deferring my guinune character, harassment that went
on at the workplace, demotion of work hours from 5 days to 3 days a week, and by condo|ing

to the behavior of an outside individual who was not disicplined by management and was
allowed to display this unethical behavior in the workplace.

THlsDAY // oFJuNE,zols

 

 

Lisa Antoine Plaintiff - (Pro-Se)

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Pro Se l (Rev. 12/16) Complaint for a Civil Case

 

V. Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, l certify to the best of my knowledge, information,
and belief that this complaint is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needles increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll. `

A. For Parties Without an Attomey
I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be

Served. I understand that my failure to keep a current address on tile with the Clerk’s Oflice may result
in the dismissal of my case.

Date of signing: 20 / g
Sig'r'iat'ur'e 61 Piaintiu M)X/\d'iUA/C/

Printed Name of Plaintiff ]` ! ug A M)A M `{__O l N g

 

B. For Attorneys

Date of signing:

Signature of Attomey

 

Printed Name of Attomey

 

Bar Number

 

Name of Law Firm
Street Address

 

 

State and Zip Code

 

Telephone Number
E~mail Address

 

 

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RULES USED lN SUPPORT OF THlS CLA|l\/|

28 USC 1331 - FEDERAL QUEST|ON

28 usc 1391 (b) (1) -vENuE

28 USC 1343 (a) (1) - C|VlL RIGHTS AND ELECT|VE FRANCH|SE

RULE 803 (1) - HEARSAY EXCEPTIONS

28 USC 2072 (b) - RULES OF PROCEEDURE AND EV|DENCE

RuLE 8 (a) (2) - GENERAL RuLEs oF PLEAD|NG

C|VlL RlGHTS ACT OF 1964

HARASS|\/lENT

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Lisa Antoine

2831 Parkway Avenue #B
Charlotte, NC 28208
704-287-2558

6/5/2018

Western District of North Carolina
401 W. Trade Street
Charlotte, NC 28202

AFF|DAV|T |N SUPPORT OF CLA|lV|

l Lisa Antoine of sound mind declare that this suit brought forth in this court is of my
best belief, and that the facts provided therein are the truth and is not a deviation or of
malice towards the defendant.

The facts provided are of my recollection and as to the proceedure and rules of this
court and to provide the adequate and substantiated proof and supporting evidence to
allow the court to make a clear and precise Judgement.

There is not a lack of proof provided as to the incident which happened at Elliotte
l\/\anor during my work at this facility, but only the truth.

%aina

Lisa Antoine (Pro- Se)
2831 Parkway Avenue, #B
Charlotte, NC 28208

This day _{+ h oflune, 2018

 

l\/ly Commission Expires

 

MchAEL S GoaTNEY

s Notary Publlc
/4/[ M . Gaston Co., North Carolina
My Commission Expires Jan. 21, 2023

 

 

 

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!P°

EXH|BlTS USED lN SUPPORT OF THlS CLA|l\/l

EXH|BlT 1 - initial filing of EEOC within the 90 day period

EXH|BlT 2 - Retainer Agreement of laywer to help in an agreement of
claim to the EEOC including fee agreement

EXH|BlT 3 - Charges acknowledged by EEOC through representation
of an attorney

EXHlB|T 4 - Statement provided by defendant's attorney to EEOC

EXH!B!T 5 - Schedule t sh w that the defendant's argume

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not corresspond with statement to EEOC claiming | worked on April
26th, 2017; reduced hours in retaliation and accommodation of new
hired employees

EXH|BlT 6 - I\/ly statement to EEOC exposing and giving a detailed and
collective set of facts as to the real incident.

EXH|BlT 7 - Closing of case handled by EEOC.with Right to Sue

EXH!B!T 8 ~ Policies of EEQC and coressponding cases handled and

prohibited behavior/practices in the workplace

1

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EEoc Form 5 r11/09)

 

 

 

 

 

 

 

 

CHARGE OF D|SCR|M|NAT|ON Charge Presente_d To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. See enclosed Privacy Act E FEPA
Statement and other information before completing this form.
|X| EEoc
and EEOC
State or local Agency, if any
Name (lndicate Mr., Ms., M/s.) Home Phone (lncl. Area Code) Date of Birth
Ms. Lisa Antoine (704) 287-2558 12/18/1964
Street Address City. State and ZlP Code

2831 Parkway Avenue, Unit B, Charlotte, NC 28208

 

Named i`§the Emp|oyer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That l Believe
Discriminated Against Me or Others. (lf more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (lnc/ude Area Code)
Elliotte Manor 15+ (704) 545-1366
Street Address City. State and ZlP Code

10201 Connell Road, Mint Hill, NC 28227

 

 

 

 

 

Name No. Emp|oyees, Members Phone NO. (Inc/ude Area Code)

Street Address Clty, State and ZlP Code

DiSCRlMlNATlON BASED ON (Check appropriate box(es).) DATE(S) DlSCR|MlNATlON TOOK PLACE
Earliest Latest

E:| RAcE l;:| coLoR [:| sex E ReLlciON E NAnoNAL onlan 2017 04/30[2017
l:l RETALlATroN t lAeE t ` |DrsABiLiTY l leENETIclrrFoRMATiON

|: OTHER (Specilj/) E CONTlNU|NG ACT|ON

 

 

THE PARTiCULARS ARE (lf additional paper ls needed, attach extra sheet(s)),'
Statement of Harm: Elliotte Manor subjected me to discriminatory and disparate treatment on the basis of

my race, African American. Specit”lcal|y, l was the victim of discriminatory treatment and false allegations
from a Caucasian resident and that residents family member (Caucasian). The resident in question made
derogatory and racially charged remarks towardme on various occasions, including the use of the term
"nigger." l reported my concerns with this treatment to Elliotte Manor, but the company failed to take sufficient
remedial action Rather than investigate or address my concerns, Elliotte Manor’s owner (Caucasian\,
brushed off the issues at hand and allowed the discriminatory environment to persist. lnstead, Elliotte l\llanor
retaliated against me for my reports of discriminatory conduct and drastically reduced my hours, resulting in
lost wages. As a result of this severe and pervasive disparate treatment, l was forced to separate from
Elliotte Manor.

Statement of Discrimination: | believe l have been discriminated against on the basis of my race in
violation of Title `V'ii of the Civii Rights Act of 1964

 

 

 

 

 

l want this charge filed with both the EEOC and the State or local Agency, if any. l NOTARY- Whe" necessary for State and LOCH/ Agency R€quimme"is
will advise the agencies if l change my address or phone number and l will
cooperate fully with them in the processing of my charge in accordance with their
p"°°edu'es l swear or affirm that l have read the above charge and that it ls true to

declare under penalty cf perjuryt th above is huer correct the best of my knowtedge. information and beliefI

S|GNATURE OF COMPLA|NANT
M {"l SUBSCR|BED AND SWORN TO BEFORE ME TH|S DATE
/ l ( l ’ i7 t 15 h/\.Q (month, day, year) ‘
/ ate \/ MCharging Party Signalure

 

 

 

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EXH'\E'\T g

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i_ A W G Fi 0 U P
202 S Hoover Blvd Tampa, FL 33609 o Tel (800) 965-1570 o Fax (866) 580-7499

Offices: Atlanta o 'l'ampa G.Charlestone Chicago 6 Ra¢eigh

 

 

S m fCl' 'Ri f nin n F

Before you, the prospective client, arrange a contingent fee agreement with a lawyer, you should understand
this statement of your rights as a client, This statement is not a part of the actual contract between you and your
lawyer.,"but, as a prospective client, you should be aware of these rights:

4.

1. There is no legal requirement that a lawyer charge a client a set fee or a percentage of money recovered in a case.
You, the client, have the right to talk with your lawyer about the proposed fee and to bargain about the rate or
percentage as in any other contract if you dc not reach an agreement with 1 lawyer you may talk with other lawyers,

'_.......__. .. ..._

2. Any contingent fee contract must be in writing and you have 3 business days to reconsider the contract. You may
cancel the contract without any reason if you notify your lawyer in writing within 3 business days of signing the
contract. If you withdraw from the contract within the first 3 business days, you typically do not owe the lawyer any
additional fee although you may be responsible for the lawyer’s actual costs during that time. If your lawyer begins to
represent you, your lawyer may not withdraw from the case without giving you notice, delivering necessary papers to
you, and allowing you time to employ another iawyer. Often, your lawyer must obtain court approval before
withdrawing from a case. If you discharge your lawyer without good cause after the 3-day period, you may have to
pay a fee for work the lawyer has done.

3. Before hiring a lawyer, you, the client, have the right to know about the lawyer’s education, training, and
experience. If you ask, the lawyer should tell you specifically about the lawyer’s actual experience dealing with cases
similar to yours. If you ask, the lawyer should provide information about special training or knowledge and give you
this information in writing if you request it.

4. Before signing a contingent fee contract with you, a lawyer must advise you whether the lawyer intends to handle
your case alone or whether other lawyers will be helping with the case. If your lawyer intends to refer the case to
other lawyers, the lawyer should tell you what kind of fee sharing arrangement will be made with the other lawyers, If
lawyers from different law firms will represent you, at least 1 lawyer from each law firm must sign the contingent fee
contract.

5. If your lawyer intends to refer your case to another lawyer or counsel with other lawyers, your lawyer should tell
you about that at the beginning. If your lawyer takes the case and later decides to refer it to another lawyer or to
associate with other lawyers, you should sign a new contract that includes the new lawyers. You, the client, also have
the right to consult with each lawyer working on your case and each lawyer is legally responsible to represent your
interests and is legally responsible for the acts of the other lawyers involved in the case.

6. You, the client, have the right to know in advance how you will need to pay the expenses and the legal fees at the
end of the case. If you pay a deposit in advance for costs, you may ask reasonable questions about how the money
will be or has been spent and how much of it remains unspent. Your lawyer should give a reasonable estimate about
future necessary costs. If your lawyer agrees to lend or advance you money to prepare or research the case, you have
the right to know periodically how much money your lawyer has spent on your behaif. You also have the right to
decide, after consulting with your lawyer, how much money is to be spent to prepare a case. If you pay the expenses,
you have the right to decide how much to spend. Your lawyer should also inform you whether the fee will be based on
the gross amount recovered or on the amount recovered minus the costs.

7. You, the client, have the right to be told by your lawyer about possible adverse consequences if you lose the case.
Those adverse consequences might include money that you might have to pay to your lawyer for costs and liability
you might have for attorney's fees, costs, and expenses to the other side.

Spielberger Lclw Group form CRFl32 9/ii

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8. You, the client, have the right to receive and approve a closing statement at the end of the case before you pay

any money. The statement must list all of the financial details of the entire case, including the amount recovered, all
expenses, and a precise statement of your lawyer’s fee. Until you approve the closing statement your lawyer cannot
pay any money to anyone, including you, without an appropriate order of the court. You also have the right to have

every lawyer or law firm working on your case sign this closing statement.

9. You, the client, have the right to ask your lawyer at reasonable intervals how the case is progressing and to have
these qyestions answered to the best of your lawyer’s ability.

10. You, the client, have the right to make the final decision regarding settlement of a case. Your lawyer must notify
you of all offers of settlement before and after the trial. Offers during the trial must be immediately communicated
and you should consult with your lawyer regarding whether to accept a settlement. However, you must make the final
decision to accept or reject a settlement.

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Ciient Signature

Lisa Antoine
Ciient Name

5/8/2017
Date

Spielberger Lcw Group form CRFl32 9/i l

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SiPlELBiERGEl-'l
Law -o`_n'oup

202 S Hoover Blvd Tampa, FL 33609 o Tel (800) 965-1570 o Fax (866) 580-7499
Offices: Atlanta 0 Tampa 0 Charleston¢ Chicago o Raleigh

 

LLMIIER.AUIHQBIJN_IQ_B§BBE§ENI

:¢
' I/WE HEREBY retain Spielberger Law Group, as my attorneys to represent me in a letter for demand against
§Liqlt_e_dg_ggc or any other person, firm or corporation who, in Spielberger Law Group's determination might be
liable as a result of my/our employment thereof.

THE UNDERSIGNED CLIENT(S) has/have, before signing this contract, received and read the STATEMENT
OF CLIENT'S RIGHTS, and understand(s) each of the rights set forth therein. The undersigned client(s) has/have

signed the statement and. received a signed copy to keep and. refer to while being represented by the undersigned

attorney(s).

If the attorney has advanced funds to others in representation of the client(s), the attorney is entitled to be
reimbursed for such amounts as the attorney has reasonably advanced on behalf of the client(s).

I/WE UNDERSTAND that this limited agreement to represent is based upon a $§9_5 non-refundable fiat fee.
The total amount due shall be payable at a rate of $3_25 with the payment due on the date of this Agreement.

I/WE HEREBY agree that Spielberger Law Group's representation is limited only to pre-litigation matters
up to the receipt of a Notice of Right to Sue Letter or otherwise up to the filing of a law suit. Spielberger
Law Group is not agreeing to represent me/ us in filing a law suit or litigating my/our claims beyond pre-
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lu.lga\.luu.

AS COMPENSATION for the services of my/our attorneys when a recovery is made, I/we agree to pay
my/our attorneys from the total recovery, the following fee:

a. BEFORE THE FILING of a complaint or an answer or the demand for appointment of arbitrators or, if no
complaint or answer is filed or no demand for appointment of arbitrators is made, the expiration of the time period
provided for such action:

(1) gp_°;g_of any recovery or settlement.

(2) A $§§._ monthly flat fee for each calendar mon h in which, "‘ie are represent ed, start 'ngi" the second calendar
month of representation, and payable on the same calendar day as the date of this Agreement each month. It is
agreed that these monthly flat fees shall be earned immediately.

Spielberger Law Group has a security interest in any settlement money obtained on your behalf and as
such, the attorney's fee shall be paid first out of any settlement. Our attorney's fee is to be calculated as the gross of
all monies received, whether through settlement, judgment, and/or award of attorney's feesl

Spielberger Law Group form CRFi 32 9/ i i

Case 3:18-CV-00302-FDW-DSC Document 1 Filed 06/11/18 Page 16 of 55

 

 

BANKRU PTCY

I have not filed for bankruptcy since the date of the incident in question. If I do file for Bankruptcy before my
case is completed, I will disclose my claim to the Bankruptcy Court in my Petition for Bankruptcy, as I am required to
do by Federai Law. I will immediately notify Spielberger Law Group, of my Bankruptcy by sending them a copy of
my Petition for Bankruptcy,

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terms of this Agreement. I/we agree to keep my/our attorneys advised of my/our whereabouts at all times and to
cooperate in the preparation and investigation of the case, to appear on reasonable notice for office conferences,
depositions and court appearances and to comply with all requests made by my/our attorneys in connection with the

preparation and §:sentation of my/our case.
x

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Sociai Security Number

Lisa Antoine
CLIENT NAME

5/8/2017
SPIELBERGER LAW GROUP DATE

 

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Law Group at least three business days prior to a payment due date. l also understand that l will be subject to a minimum $25 NSF fee
should a check not clear or a credit card transaction not authorize on any of the above payment dates. Spielberger Law Group assumes
no liability for any additional expenses you incur as a result of non-sufficient/available lunds.

ClientName: F`\Lisa Antoine L

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the payment plan section from my checking/savings account l also understand that if l wish to change any of the draft
dates, l have to notify Spielberger Law Group at least three business days prior to a payment due date. l also
understand that l will be subject to a minimum $25 NSF fee should a check not clear or a credit card transaction not
authorize on any of the above payment dates. Spielberger Law Group assumes no liability for any additional expenses
you incur as a result of non-sufficient/avaiiable funds.

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U.S. Equal Emp|oyment Opportunity Commission

Charlotte Dlstrict Office l 129 w. Trade street
suits 400

charlotte Nc 28202

(704) 344-6682

Too: 1-300_669-6820

i=ax: (704) 954-6410

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Respondent: ELLlOTTE'S MANOR. LLC
EEOC Charge No.: 430-2017-02086

Jason lie Watson, Esq.
Spielberger Law Group 2
202 S. Hoover Blvd

Tampa, FL 33609 , AUG 2 1 2017

D.-ar l\./lr Watson, ;

This is to acknowledge receipt of the above-numbered charge of employment discrimination against the above-named
respondent Piease use the "EEOC Charge No." listed above whenever you call us about this charge. The information
provided indicates that the charge is subject to:

X Title Vll of the Civil Rights Act of 1964 (Title Vll)
The Age Discrimination in Empioyment Act (ADEA)
The Americans with Disabilities Act (ADA)

The Equal Pay Act (EPA)

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You need do nothing further at this time. We will contact you when we need more information or assistance A copy of
the charge or notice of the charge will be sent to the respondent within 10 days of our receipt of the charge as required
by our procedures

The quickest and most convenient way to obtain the contact information and the status of your charge is to use
EEOC’s Online Charge Status System, which is available 24/'?. `Y'ou can access the system via this link
(httpe://publicportai.eeoc.aov/portai) or by selecting the “My Charge Status" button on EEOC’s Homepage
(www.eeoc.gov). To sign in, enter your EEOC charge number, your zip code and the security response An
informational brochure is enclosed that provides more information about this system and its features

While the charge is pending, this office should be notified of any change in your client's address, or where they can be
reached if they have any prolonged absence from home. Your cooperation in this matter is essentiai.

   

 

 

. F’elsenhardt
in estiga r
(704) 954-6452

Office Hours: l\/londay - Friday, 8:30 a.m. - 5:00 p.m.

www.eeoc.gov

Enclosure(s): cc: Lisa R. Antoine
2834 Parkway Avenuel Unit B
Charlotte, NC 28208

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EXH.\EiT L,_

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HOPPER, HICKS & WRENN, PLLC

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Creedmoor, NC 27522

November 29, 2017

Ms. Hattie W, Murphy

Federai Investigator

Equal Employment Opportunity Commission _
Charlotte District Oftice

129 W. Trade Street, STE 400

Charlotte, NC 28202

Re: Employer: Elliotte’s Manor, LLC
(`i'\m'r_rinn Dm~hr~ l ina D A mining
\.An,u bAuB .I u\\J . L/h)¢\ L\. nll!.U|ll\r
EEOC Charge No.: 430-2017-02086
Response Date: Novernber 29, 2017

Dear Ms. Murphy:

We a1e writing on behalf of 0111 client, Elliotte’ s Manoi, LLC (“Elliotte’ s Manoi” 01

/nr\\

“1\esponciing Party' ), in response to Lisa 11 Antoine s t' l1.,'l1a1ging Paity' ) allegation that she was l
Discliminated against because cf hci iace, Black, in violation of Title Vll of the Civil Rights Act
of 1964 ("Title Vll").

A. The Allegat_ions.

The Charging Party alleges that Elliotte’s Manor “subjected [her] to discriminatory and
disparate treatment on the basis of [her] race” and “[r]ather than investigate or address [her]
concerns.. .Eiliotte Manor ietaliated against [hel] for [he1] repoits of disciiminatory conduct and

d1astically ieducecl [her] houls” foicing he1 to lose wages and eventually sepaiate flom her
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The Responding Party denies the Allegations in their entirety. 111 support of this denial, the
Responding Party shows the following

l . Surnntaiy

Elliotte’s Manor did not subject Chargng Party to discriminatory or disparate treatment
while she was employed with Elliotte’s Manor nor did Elliotte’s Manor retaliate against Chargng

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Party for her reports of discriminatory conduct. An incident occurred between one of Elliotte’s
Manor’s residents (the “Resident”) and Charging Pai'ty during Charging Pai'ty’s shift on or about
April 26, 2017. On April 30, 2017, the Resident’s daughter (the “Daughter”) posted a note
directing that Charging Party not be allowed to enter the Residcnt’s room. Innnediately after being
notified of the incident and the posting of the note, Elliotte’s Manor began investigating the
matters .1 ust prior to the incident, Charging Party asked to be transferred from third shift to second
shift 7Aiter the incident, Chargin_g Payty i-gqire_<ri=_d that S_tip i-.p ..¢.i.,.-“.,A in ti,:..,i ha -1._,_

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Manor had already filled the vacancy left by Charging Paity’s transfer to second shift and full time
third shift work was not available Charging Party told Ryan Elliotte that part-time work was
acceptable because she wanted to go back to school to become a pharmacy technician (See text
message dated May 2, 2017 attached as “Exhibit A”). Elliotte’s Manor did not reduce Charging
Party’s hours based upon her allegations Before Elliotte’s Manor could conclude its investigation

Charging Party notified Elliotte’s Manor of her resignation on May 4, 2017, effective immediately.
2. Background on Elliotte’s Manor/Responding Paity

Elliotte’s Manor operates two family care homes, Elliotte’s Manor #l and Elliotte’s
Manor #2 located on adjacent properties in Charlotte, North Cat'olinai cac-ll of Which is licensed tc
care for up to six residents The Resident resided in Elliotte’s Manor #'1 at the time ofthe incident
Family care homes are licensed pursuant to Articlc l, Chapter 131D of the North Carolina General
Statutes and are adult care homes which care for between two and six residents w N.C. Gen.
Stat. §13lD-2.1(9). An adult care home is defined as

An assisted living residence in which the housing management provides 24-110111‘
scheduled and unscheduled personal care services to two or more residents, either
directly or for scheduled needs, through formal written agreement with licensed
home care or hospice agencies Soinc licensed adult care homes provide

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independently, may jecpardlze the safety atwell-being of themselves or others and
therefore require supervisionl Medication in an adult care home may be
administered by designated trained staff. Adult care homes that provide care to two

to six unrelated residents are commonly called family care homes

N.C. Gen. Stat. §131D-2.1(3).

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Ryan Elliotte is the manager of Elliotte’s Manor and is the head supervisor of all
employees Upon an employee’s hiring, Elliotte’s Manor staff makes sure that new employees are
trained on the residents’ individual needs A vital component of Elliotte’s Manor’s training
protocol is to introduce new hires to current residents and to explain to the new hires the tendencies
and characteristics of the residents Elliottc’s Manor prides itself on being able to cater to the
specific needs of its residents in a home-like setting Employees of Elliotte’s Manor are not
specifically assigned to one building or other. Instead, to fairly distribute the respective workloads

of its employees Elliotte’s Mancr rotates its employees between its two buildings

3. The facts surrounding the Charging Pa1ty’s resignation are as follows:

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Cha1gma Party was originally hired by Elliotte’ s Manot to wotk third shift oi night
shift, on Match 18, 2017. Cha1ging Palty exclusively worked third shift until requesting that she
be transferred to second shift. After Charging Party requested to have her schedule changed so that
she could work second shift, Ryan Elliotte granted Charging Party’s request and scheduled her for
second shift. Elliotte’s Manor hired staff to fill Charging Party’s position on third shil`t. Bccause
Charging Party had worked both second and third shiftsfor Elliotte’s I\/lanor7 she was oriented to
the residents’ different needs during both shifis. As part of this orientation, Charging Party was
informed about each of the residents’ personal characteristics including each resident’s care needs
and habits. Charging party was specifically told that the Resident was active at night due to his
history as a night security guard.

On or about April 26, 2017, during one of Charging Party’s third shift assignments the
Charging Party and the Resident allegedly exchanged words and the Resident allegedly made a
comment (or comments) to the Charging Party which was racially insensitive (the “Incident”). As
explained below management at Elliotte’s Manor was not made aware of the Incident by the
Charging Patty or the Resident, but instead learned about the Incident on April 29, 2017 from the
Daughter. The Resident is a retired night shift employee who tends to rest during the daytime and
is more alert at night. The Resident is an elderly individual who is known to be irritable unless
staff members spend time with him. Naturally, because he is alett while other residents are asleep,
the Resident requires more attention than most residents during third shift The night of the
Incident, which was scheduled to be Charging Party’s last night 011 third shift before her permanent

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Chatging Party was the employee tesponsible for taking care of the Resident 011 the night of the
lncident. Apparently, the Resident’s request for medication was not fulfilled in a manner
satisfactory to the Resident and the Resident became frustrated with the Charging Party;s reaction
to the request. This caused the Resident and the Charging Party to exchange words. Allegedly, the

Resident used racially insensitive language, including the “N” word, in speaking to the Charging
Partyt -

Responding Party was notified about the Incident by the Daughter 011 April 29, 2017.
Responding Party immediately (the next day, 011 or about April 30, 2017) reviewed its video
surveillance and could tell that there appeared to be a verbal exchange and that both the Charging
Party and Resident appeared frustrated The video surveillance did not include audio. While the
Charging Party was working second shift on or about April 27, 2017, the Resident pointed out to
the Daughter that the Charging Party was the employee that he had had an issue with during her
third shift on or about April 26, 2017. The Daughter then called Ryan Elliotte to inquire about the
incident at approximately lO:OO pm on April 29, 2017. She explained that the Resident told her
that Charging Party became angry with him when he disturbed her to ask for headache medication,
was slow to respond to his needs, and made it clear that he should be asleep and not disturbing her.
Until receiving this call from the Daughter, Ryan Elliotte was unaware of the incident Ryan

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with the Daughte1 and Cha1g1ng Party. When he mentioned the lncident to the Chaiging Party,

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After her conversation with Ryan Elliotte, the Daughter then unilaterally decided to post
notes (the “Notes”) in the building where the Resident was located informing staff that the

Charging Party was not allowed in the Resident’s room until further notice (see attached Note
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A1ea”) and one note in the Resident’ s room. The Daughter acted on he1 own with no direction
from Responding Party. The Notes were not found by Responding Party until 7:30 am on April
30, 2017, the following morning, when another employee called Ryan Elliotte to inform him of
3 the Notes. The Note in the Conimon Area was then taken down immediately by Respondin g Paity.

The Note in the Resident’s room was taken down the following dayt Ryan Elliotte then had a
conversation with the Daughter to notify her that her actions were unacceptable and would not be
tolerated in the future. Ryan Elliotte scheduled a date for Charging Party and the Daughter to meet
to discuss both the Daughter`s and the Charging Party’s concerns Charging Party and Daughter
agreed to meet on May 8, 2017. Elliotte’s Manor never indicated that this meeting was mandatory
for Charging Pariy. Four days before the scheduled meeting, on iviay 4, 2017, Chargng Party
tendered her resignation and noted that it would be “effective today”.

C. No Evidence of Unlawl`ul Discrimination by Responding Party.

Charging Party cannot establish the elements of a prima facie case of racial discrimination
011 these facts. Elliotte’s Manor is an equal opportunity employer with a diverse workforce
Currently, Responding Party has seventeen (17) employees, nine (9) of whom are African-
American. The Responding Party does not tolerateor condone discrimination based on race. As
her employment is without merit. Responding Party immediately acted once informed about the
incident with Resident. Moreover, there is 110 evidence whatsoever that Elliotte’s Manor took any
adverse action against Chargng Party because of her race, and much evidence to the contrary.

First, the undisputed evidence is that Ryan Elliotte investigated the Incident with Charging
Party as soon as he became aware of the situation Ryan Elliotte communicated with the Charging
Party as soon as he Was notified 011 the incident. He conducted staff interviews and resident
interviews after receiving Charging Party’s allegationsl Furthermore, Ryan Elliotte reviewed the
video surveillance located attire facility

Elliotte’-s Manor had no part in posting the Note-s As soon as Elliotte’s Manor management
was alerted to the situation, the Note in the Common Area was removed Speciiically, Ryan Elliotte
made it clear to the Daughter that the Note was unacceptable Further, he had separate discussions
with the Charging Party during which he made it clear that he had addressed the posting of the
Note and that he did not condone the Daughter’s actions.

Elliotte*s l\/lanor strives to provide its employees with a work environment that is free from
discriminatory intimidation, ridicule, and insult. Because Elliotte’s Manor serves elderly
individuals, some of whom have mental capacity issues, employees are taught in their training that

some residents may be difficult to manage Whenever a situation reaches the level of becoming
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management so that pr'opei action(s) can be taken. Elliotte’ s Manol investigates complaints of

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discrimination to make sure that its employees are able to work in a nondiscriminatory work
environn'ient. While Elliotte’s Manor cannot prevent residents, all of whom are elderly and some
of Whom suffer mental impairments from occasionally using inappropriate language towards its
employees, Elliotte’s Manor addresses such resident behavior with the resident in question and/or

the 1‘esident"s responsible party. Staf`f` are not reassigned based on a resident’s race-based
preferences

Elliotte’s Manor did not reduce Charging Party’s hours because of the lncident. Charging

,-,Paity requested to be moved from third shift to second shift. Her first day on second shift, April
27, 20’17, was tire day the Resicient’s Daughter confronted her about the alleged lncident. The
Charging Party asked to be returned to third shift. Ryan Elliotte informed her that her position on
third shift had been tilted and that he did not have a full-time position available for her on third
shift at that time. She responded by indicating that a part-time position was acceptable because
she Wanted to go back to school to become a pharmacy technician All of the events described
happened over annroxilnatelv a nine ( 9`1 dav period Elliotte’ s M.;a_11g1 wa.g. never oiven_ nn

D. Conclusion

.The foregoing discussion and the attached evidence show that the Charging Party was not
subjected to discrimination while employed with Elliotte’s Manor, Chargng Party Voll.l.ntat'ily

requested to change shifts, then requested to be changed back to third shift after additional staff

had been hired to t`. ii her position She int`cnned Ryan Elliotte that she had ne objection to patt-

thne work because she intended to go back to school. She then voluntarily resigned Responding
Party attempted to understand and resolve any issues Charging Paity may have had at work.
Unfortunately, Charging Party did not give the Responding Party a chance to ultimately finalize
its investigation Instead, she resigned without providing Elliotte’s Manor with any notice.
Accordingiy, Responding Party respectfully requests that the Connnission dismiss this Charge and
issue a dismissal and notice of rights with respect to Charging Party’s claims

If you require any additional information, please let us know. We look forward to receiving

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/ ¢,,.laities C. Wrenn, Jr.
’Counsel for Responding Party

Enclosure(s`)

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Exhibit “A”

"" _ Text Messages Dated May 2, 2017 from Charging Party to Ryan Elliotte of Responding

Party and Ryan Elliotte’s Response

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-"' ' _ Note Posted by Diann Browning, Daughter of Reside'lit on April 30, 2017

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EXH`\E'\T é,

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Lisa Antoine b
2831 Parkway Avenue #B
Charlotte, NC 282'.)8
(704)237-2558

12/ 03/ 2017

Ms. _Hattie W. Murphy

Federai investigator _,
Equal Empioyment Opportunity Commission
Charlotte District Office

129 \!\! Trade Street, STE 409

Charlotte, NC 28202

EEOC Charge No: 430-2017-02086
RE: Statement in Response to Elliotte Manor Ll.C to ensure a proper investigation.
Dear lvls. Niurphy:

_i am writing youthis full statement in response to the your ongoing investigation to address the
matter to itis fullest attention. i made this complaint prior to it reaching your desk in order to
come to a resolution but unfortunately Elliotte Manor LLC refused to mediate with my legal
assistant firm. My representing attorney has been aware.of this issue since May 8"h of 2017 and
there appears to be no resolution in sight. l was told by a worker at your office that Elliotte
i\/lanor LLC has decided to settle, but l am not too sure of that. instead an attorney has
submitted a statement to your office in response to your ongoing investigation, and l am going

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A. ADDRESSING THE lSSUE

| Lisa Antoine worked at Elliotte i\/ianor LLC from March 18‘h 2017 until l fully resigned from a
hostile environment Before l was hired i was interviewed by Tanna who was the interviewer or
the hiring manager who is no longer there. i.aterl met with Ryan Elliotte (Defendant) Who hired
me. l did and completed the necessary paperwork for the job I applied, which was full-time on
3"1 shirt illsm-?am;.

l have been a CNA for over 17 years and i have always kept a professional appearance, did my
job with a good heart, follow appropriate orders, completed tasks within reasonable time, and
always showed respect for the elderly, disabled, and less fortunate.

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Listed below are my points concerning the truth of the present matter at hand, and l shall
point the out:

1. Upon being interviewed by Tanna l had a second interview which was done by Ryan
Elliotte. During this second interview Ryan Elliotte handed me a packet and l signed some other
documents Which i was not given a copy of. i did not have an orientation class but only had a
second interview with Ryan Elliotte. During this second interview Ryan Elliotte did explain to me

.'-what was in the packet and informed me of it’s contents. Ryan Elliotte also explained to me
there would be a drop in pay to minimum Wage if a (2) Week notice Was not given if i do ecide
to resign. He told me that this (2) weeks advance resignation notice could be in any manner
written or verbal. This second interview occurred before l was actually hired.

2. During this second interview i was not given any information of any residents or any
special needs or personal needs or any requirements towards any residents Wit'ni'n the facility,
because l was not on staff as yet. After this second interview l was hired and there was no
orientation class to be informed of tr e facility, staff, residents, or resident family members .

The following are discrepancies that are included in Elliotte’s Manor LLC statement to the EEOC:

1. in the statement provided by the defendant Elliotte |Vianor LLC, it stated, ” i had
attended an orientation that was given and i was told of residents needs." This statement is

faise.

2. in the statement provided by the defendant Elliotte Manor LLC, it states, ”i did work on
or about April 26th 2017." This statement is faise.

3. in the statement provided by the defendant Elliotte Manor LLC, it states, “Resident i\/ir.
Grant approached me for pain medication on April 26th 2017." This is false.

¢i. in t‘ne statement provided by the defendant Elliotte ivianor LLC, it states, ”ivir. Grant and
myself had an argument when he viewed the footage of the camera.” This statement is false.

5. in the statement provided by the defendant Elliotte Manor LLC, it states, ”M r. Grant's
daughter approached me after her father pointed me out on April 27th 2017." this statement is

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6. in the statement provided by the defendant Elliotte Manor LLC, it states, ”i spoke to l\/lr.
Grant's daughter Diann Browning prior to her posting note(s).” This statement is false.

7. in the statement provided by the defendant Elliotte Manor LLC, it states, “l worked on
2“d shift on April 26th - April 27th 2017." This statement is false.

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8. » in the statement provided by the defendant Elliotte Manor LLC, it states. ”i asked to be
changed from 3rd shift to Z"d shift." This statement is false.

9. in the statement provided by the defendant Elliotte Manor, LLC, it states, "i refused Nlr.
Grant his medication and l did not perform my job duties." This statement is false.

1(`). in the statement provided by the defendant Elliotte ivianor, LLC, it states, 'iviy effective
day of resignation was iVlay llth 2017." This statement is faise. My effective date of resignation

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B. EXPANAT|ON OF EVENTS AS THEY HAPPENED

From the start of my employment at Elliotte ivianor LLC, l admit it was a learning experience
and l adopted very weli. | learnt of all the necessary residents needs, wants, care plans, and
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accommodations or faults, or behavior during my second interview done by Ryan Elliotte. I\/iy
observation and questions that ! asl<.ed enabled me to understand ali residents after my second
interview. | was not informed and i never knew resident Mr. Grant had a problem of pacing the
floors in the hallways because of his prior occupation as a security guard. | thought some
residents do it for exercise because at other facilities they ali say that. This is the first time l arn
hearing that about Mr. Grant, and according to policy of the State of North Carolina, patients or
residents information are to remain confidential From this statement mentioned in the
defendant's letter to the EEOC this is a violation of the Ethics, Rules and Regulation of Patients
.R.ig.h.ts which are to remain confidential at all times

1.(a) On or about April 26th 2017 as stated by the defendant Elliotte l\/|anor LLC, they claimed
that i was scheduled to work on 2“d shift. According to the schedule l have, l was not scheduled
to Work and l did not work. i was off that day and i did not come to the facility on that day.

See(EXHiBiT Ai There Were no comments exchanged hetWeen myself and resident. Mr. Grant
because l was not there. He never asked me for any pain medication because i was not there
on the premises. i did not neglect my job duties because i was not there. So it is impossible for
the defendant Elliotte Manor LLC to say there is video footage of me on the premises when l
did not work. On April 25th 2017 cannot be used as an alibi due to the fact that | worked 3rd shift

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The statement provided by defendant Elliotte Manor LLC states, Mr. Grant approached me for
his pain medication and ltold tRyan Elliotte, that lVlr. Grant had addressed me in a racially

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time. There is no video footage showing nothing of the sought because l was not on the
premises and l did not work that day because it never happened.

l_b_) On April 27th 2017 according to the defendant Elliotte Manor LLC, they stated that Mr.
Grant’ s Daughter Diann Browning approached me after resident i\/|r. Grant pointed me out to
his daughter after Mr. Grant told his daughter l refused to give him his medication. According to
the schedule l have l worked as a housekeeper from (9am-5pm) and i worked in Building 2.
-'¢ Resident i\./ir. Grant resides in Building 1 so this is a false statement and.. = iie. Mr. Grant's

+ daughter did not approach me because i did not work on April 26 h2017 for any information to
have been related to his daughter. i did nothing for Mr. Grant's daughter to approach me and
when i worked on April 27th 2017 Mr. Grant's Daughter Diann Browning did see me that day
and l did not see her. Defendant Elliotte Manor LLC also claimed l worked on 2"d shift (3pm-
11pm) on April 27th 2017, when i was working a regular 9 to 5 shift.

(c) Defendant Elliotte Manor LLC has claimed that l requested to be put on 2"°l shift (3pm-
11pm) from 3rd shift (11pm-7pm). According to the EXH|BlT(text message) presented by the.
defendant Elliotte Manor LLC, it shows this request was made on iVlay 2nd 2017, but the
defendant implied in their statement that l made this request sometime during April 25th -` ‘
zell auu Salu 1 WGl'i(i':`:d" ul`¢ April 25th 4017 and Aj'.li`ii 27th 2017 Oi"r 2n nd Si'iii:l.. Ti`li$ Statem€iit iS
false and it was presented to the EEOC' in this matter. I worked right through the month of April
2017 on 3rd shift (11pm-7am) except when doing housekeeping during (9am~5pm). See my
(EXHlBlT A)

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occurred on April 30th 2017 where the issue actually started defendant Ryan Elliotte only had
(3) African Americans working at the facility. We all worked the graveyard shift (11pm-7am) and
the schedule i have shows the times we all worked. Al| the names listed on the 3rd shift are
African American. Only fill-ins for days off are listed as Caucasian workers. (EXHiBlT A) l

 

Elliotte Manor LLC has claimed this incident has been going on for (9) days which is a false
statement, and defendant Ryan Elliotte claimed that when the assumed incident occurred, | did
not report it to him, when there was nothing at alito report. The real incident occurred on or
about April 29th 2017 and defendant Ryan Elliotte cannot file an incident report concerning
events that was assumed to have happen on April 26th 2017, (E.X.H!Bi‘i B) i\./ir Grant nor his
Daughter Diann Browning did not file an incident or grievance report as alleged on April 26th -
27th 2017, because there was none to be filed.

What' really happened starting on April 29th 2017 is that i was scheduled to work 3'°‘ shift
(11pm-7am) and i was called by defendant Ryan Elliotte earlier during the day and i was asked

 

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by Ryan Elliotte, ”ifl wanted to work on 2"d shift (3pm~1lpm) because somebody wasn't d
coming to work at that shift on that day?” l agreed to work 2“d shift (3pm-11pm) for that clay
only which was April asi'“' 2017, when 1 went to work on Apni iam 2617 for aid shirt ispm-
11pm), defendant Ryan Elliotte called one of the CNA'S (Certified Nursing Assistant) and
requested that l be trained by CNA Stacy Cosgrove, since i wasn't trained for Z"d shift and l ;;
never worked that shift. Stacy Cosgrove worked at Elliotte Manor LLC prior to my hire and she '
stolen some controlled substance from off the cart. Defendant Ryan Elliotte had her train me
"for 2"d shift (3pm-11pm) since l had never worked it before. Defendant Ryan Elliotte kept CNA
Stacy Cosgrove on staff did not fire her and gave her a raise despite her incident but she is not
supposed to handle any kind of medications , and she personally told me that. Defendant Ryan
Elliotte never reported the incident with CNA Stacy Cosgrove to the proper authorities which is
a violation of the Law. Question: Both Stacy Cosgrove and defendant Ryan Elliotte are both
Caucasian, and he has showed favor towards her after she did a criminal act. is this '
Discrimination or what?

On that day April 291[h 2017 while l was passing medication out to the residents during the
training of Stacy Cosgrove, we came to resident Mr. Grant's rooml Stacy Cosgrove assisted me
in dispensing i\/ir. Grant's medication while we were in the hallway. i went into Mr. Grant's
room and knocked and walked in where he Was lying on the bed. i offered him his medication

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medication, and stated he had just come from the doctor earlier and he had gotten his
medication. l came out of i\/ir. Grant's room and told Stacy Cosgrove who was standing in the
hallway by the door, that Nlr. Grant refused his medication. Stacy Cosgrove who is not
supposed to touch medication due to her prior incident, took the medication from me and
went into iv'ir. Grant's room. i observed Stacy Cosgrove give i rr. Grant his medication and she
with an empty cup. That was the only time for April 29th 2017 had had spoken to Mr. Grant
during the entire shift.

 

(b) After doing 2"'d shift on April 29th 2017, i went home and during the clay when i was

asleep i received a phone callon April SGll‘ 2017n at about 10:GGam-11:00am from defendant

Ryan Elliotte. Ryan Elliotte told me that Mr. Grant's daughter Diann Browning had put up some

posters all over building 1 and building 2, and she had called him and she was very upset. j
According to the statement Elliotte Manor LLC to the EEOC, it stated that Mr. Grant's daughter l
Diann Browning had spoken to me first before posting these note(s) and Ryan had spoken to `
me first also This is not true, it’s a iie. Ryan Elliotte also told me during the phone conversation

that he had removed the posters himself and he left up only (1) in Mr. Grant's room, Which was

actually in the hallway. A copy was given to my legal assistant which should be in my file. l think

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this poster was the best out of all that defendant Ryan Elliotte took down.

Ryan Elliotte said to me during that same phone call that he wants me to come in early for a
meeting about 10pm before l started my shift which was 3'°l (11pm-7am). After speaking to
Defendant Ryan Elliotte l called a co-worl<er by the name of ivluna G`benda'n an African
American who related to me some of the racist statement, slandering statements, and
deferring statements that was on these notes.

According to the statement provided by Elliotte Nlanor LLC to the EEOC they claimed there

were only (2) notes total that was posted at the facility, This statement is false, there Were
more than that.

(c) l left home on April 30th 2017 to go to work early as requested by defendant Ryan
Elliotte, and began questioning other staff members about the notes that was put up by i\/lr.
Grant's daughter Diann Browning. l was told they were everywhere in the hailways, kitchen,
dayroom, and they were in both building 1 and building 2. i\/lr. Grant resides in building 1 and
his daughter went as far as to post note(s) in building 2 where her father does not reside
Question: What reason that would be so offensive for Diann Browning to post note(s) all over
building l and building 2? What could possibly trigger her mind to be so evasive, racist, and
retaliate in such manner? What did l do to her or her family for her to go around posting
note(s) slandering me, making racial remarks at me, and deferring my character, on the walls in
a facility where l was hired by Ryan Elliotte, which is a family business? lviost of the staff from
2nd shift (3pm-11pm) asked me, what did l do for Mr. Grant's daughter to say such things? One
or two of the staff members asked, what could | have possibly have done to deserve this and l
had just began working there? According to CNA's and residents they stated, there Were many
notes posted in both building 1 and building 2, about 12~15 tota|.

(d) After l had spoken to staff and residents at about 10pm l headed to the office to speak
to defendant Ryan Elliotte. i entered the office after i had knocked and Ryan Elliotte and myself
began to talk about the current incident concerning what Diann Browning had done. During the
conversation with Ryan Elliotte after Dianne Browning had posted the note(s) Ryan explained to
rne quite a few things about !\./!r. Grant and his daughter and Ryan's own mother !\./!s. E!!iotte.
Ryan Elliotte asked me, if l said what Mr. Grant's daughter Diann Browning said that l had say? l
asked him what was that? Ryan Elliotte told me that Diann Browning said, l called her father a
"nuisance." l told him NO, i did not say anything to Mr. Grant. Ali l do is give him his medication.
Then Ryan then willing continued to tell me about Mr. Grant , and told me that Mr. Grant is a
racist. Some older w'nl`te r'oll<s think the world is still back ln their day. i-le also told me he
watched the camera and did not see me do anything. He also said that Mr. Grant asked him,

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”why is he hiring all of these foreign niggas?” Ryan also stated, "this is not the first time that
Dianne Browning has exposed herself by conducting herself to this type of behavior at the
facility that was owned by Elliotte Nianor." Ryan Elliotte also said, ”he had spoken to his mother
ivis. Elliotte anal she told Ryan that Diann Browning had done this a few years earlier when Ryan
Eliiotte's mother was managing the other facility that was owned by her." The note(s) posted
back then were racially inclined also. Ryan also stated, his mother Ms. Elliotte had spoken to
Diann Browning concerning her behavior on the premises, and here she did it again. Ryan
‘“E|liotte also told me, ”he would rather have a resident in the facility than have a CNA." Ryan
Elliotte also asked me, "if l would talk to Mr. Grant's daughter for her to feel comfortable by me
providing her father with his medication." He also told me, That l should tell Diann Browning
that she cannot do what she did in the facility."" C`luestion: Who am l to tell any relative of a
resident what and what they cannot do after that same person has siandered my namel
deferred my character, and made me look like i am incapable of doing my job?

C. EV|DENCE lN SUPPORT OF CHARGES AGAINST ELLIOTTE MANOR LLC

1. Ryan Elliotte claimed that an incident at or about April 26th 2017 and it had been

ongoing for (9) days, by myself refusing to give Mr. Grant his medication when he approached
me for it.

SOLUTlON: There was no incident on April 26th 2017 and there is no incident ongoing for (9)
days, The real incident occurred when Diann Cosgrove plastered note(s) or posters all over the
facility even in a building that her father does not reside.

2. Ryan Elliotte claimed on April 27th 2017 that Nlr. Grant pointed me out to his daughter
and he told his daughter that i refused to provide him with his pain medication.

SOLUTlON: April 27th 2017 l worked as a housekeeper in building 2 and i was not approached
by Nlr. Grant's daughter to speak to me about nothing, because l did not work on April 26th
2017. Nlr. Grant could not have pointed me out because l never worked on that day, and l was
working in building 2.

3. Ryan Elliotte claimed he removed the other poster or note(s) that was put up by Mr.
Grant's daughter Diann Browning and left (1) up and there was only (2).

SOLUTlON: if Ryan Elliotte claimed there were only (2) note(s), and residents and CNA's that l

spoke to including Ryan Elliotte all admitted there were many notes about 12-15 total in both

buildings 1-2, this means Ryan Elliotte Was trying to cover-up these other posters or note(s) by

him not mentioning lt to the EEOC. According to the law that is an act of destroying evidence
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,,i,,l, sue ,

which is a criminal offense.

Ryan Elliotte did not disclose this information correctly to the EEOC and is trying to mislead an
ongoing investigation. Ryan Elliotte himself admitted to me during the meeting on April 30th
201_7 that he removed the other posters or note(s) personally but he never showed them to

" me. in doing so Ryan Elliotte concealed the evidence and try to have me meet the culprit Diann
Browning who did these things and wrote these harsh and slanderous and racial Words. in
doing this he would be rendered, aiding and abetting and supporting of the actions of iVlr.
Grant's daughter criminal mischief by concealing and destroying the evidence without letting
me see it.

4. Ryan Elliotte removed 95% of the posters or note(s) that was posted by Mr. Grant's
daughter Diann Browning and disposed of them.

§Ql__UT!C_)N_: F_rc_lr_n_ the fact that there were _m_c_)re ngtelsi posted than what was mentioned _by
defendant Ryan Elliotte ln his statement to the EEOC, the defendant has Obstructed Justice and
in the proper manner an investigation should go on. The statement by the defendant lacks
creditability and therefore is ”l\/loot” in their defense by not giving a full, truthfui, and accurate
set of details of the events towards the charges. Elliotte Manor LLC has provided a false

._A..\._ _. A...l

Slz?lfém nén t to l:EOC in t'r‘llS ln`v Sl.lag tl na`ll‘lu
D. QUEST|ONS lN REGARD TO UNCOVER THE TRUTH

From the statement l have provided it has been distinguished the reality from the illusion
presented by Elliotte l\/lanor LLC To further clarify such events on both sides, l have a few

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1.(a) Can Elliotte Manor LLC disclose the true number of note(s) that was personally removed
from the walls of the facility?

i_b) if they can admit how many, then where are they?
2. Can Elliotte Manor LLC give a reference of what was said on the other note(s)?

3. Can Elliotte i\/lanor LLC actually show video footage of myself on the job on the date of
April 215th 2017?

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4. Can Elliotte Manor LLC clearly admit that they did not obstruct justice by concealing and
disposing the other note(s) and didn’t let the EEOC nor myself see their contents, and didn’t
even mention it in their statement?

5. Can Elliotte Manor LLC admit that Nlr. Grant's daughter Diann Browning does have a
habitual behavior of slandering, deferring character, and making racial statements in an
attempt to discredit Black people?

6. Can Elliotte lV|anor LLC admit they did not condole to the behavior of iVlr. Grant's
daughter Diann Browning by concealing and destroying the other note(s)?

7. Can Elliotte Manor LLC admit that they did not remove 95% of the note(s)?

81 Can Elliotte Manorl _l.Ca amd tas f now that they potentially do have video footage of

l\/lr. Grant and myself' ln a disputeo neth date of April 26th 2017?

9. Can Elliotte iv'lanor i.l_C admit they still have the 95% of the posters or note(s) in their
possession?

10. Can Elliotte Manor LLC admit that note(s) was not posted in both buildings 1-2 and their
statement is truthful?

11. Can Elliotte l\/ianor LLC deny that during my time when l worked at the facility there
were only (3) African Americans working there?

E. ACTS OF RETAL|AT|ON

After the meeting on April 30th 2017 with Defendant Ryan Elliotte the following clay l\/lay 15t
2017, i called Ryan to ask about the schedule for the month of May and he said he wasn't
finished but l Was off for the 1st of May. Ryan Elliotte usually send a text of the schedule to all
workers so they can see their availability. During that phone call on May 1st 2017 Ryan Elliotte
also told me, "do not be discouraged when l see the new schedule.” Ryan Elliotte informed me
that he was putting Stacy Cosgrove to work in the office to assist him in doing his paperwork
and filing, and l would not be doing the (1) day housekeeping and the (1) day of floating from

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Cosgrove to make up for the (1) clay of housekeeping and (1) clay of fioating. During the month
of April l used to work 5 days a week of 3 days i\/ied Tech/CNA, 1 day housekeeping, and 1 day
floating in order to get 40 hours per/week. l was supposed to be hired full-time as a Med
Tech/CNA as to the ad posted on indeed website for $11.00 pr/hr. But unfortunatelyi never

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worked a complete full-time schedule for what l was hired for. The new schedule was
supposed to be out on the last day of the previous month, but there was a delay. The schedule
was not done and Ryan Elliotte already had made the changes mentioned in the phone call
because he told me l was off lviay 1“ 2017. Ryan Eliiotte also mentioned to me in that phone
call that the lady who works as the Activity Coordinator decided she wanted to do
housekeeping, and that he would grant it to her and remove me from that position. The Activity
Coordinator also happens to be Caucasian. Ryan Elliotte also told me he would like me to talk to
Diann Browning to resolve this issue do i can defend myse|f, so Nlr. Grant's Daughter Dianne
Browning could feel comfortable With me providing her father with his medication and then he
would restore my hours. Ryan Elliotte told me he would restore my hours by taking (2) days
from Stacy Cosgrove to give to me after i spoke to Diann Browning.

On May 2nd 2017 i texted Ryan Elliotte to inquire about the schedule and the (EXHlBlT) provided
by the defendant Ryan Elliotte was part of the text messages sent. Ryan Elliotte had already
done the schedule that is why he told me to get it from i\/luna Gbendah. l requested the part-
time hours after the schedule was done and Ryan Elliotte already had put me part-time without
my knowledge i went to the faci!ity`to obtain a copy of the schedule and when l saw the
reduced hours l texted Ryan Elliotte and submitted my resignation and it was accepted. Ryan
Elliotte told me l did not have to come in to continue working for the last (2) weeks. When l
received my pay from the previous (2) weeks there was a reduction from $11.00 pr/hr to $7.25
pr/hr. Ryan Elliotte had agreed to my resignation yet he still violated his own bi-|aws by
reducing wages i had already worked l had to filea ocrnpiaint with the Depa1 1me o‘ 1`i_abor in
order for me to get the remainder balance of my wages. See (EXHlBlT C) The date nthe check.

l believe from phone call that‘Ryan Elliotte against me by taking away my (1) day housekeeping
and (1) day floating to accommodate the Activity Coordinator and he had no replacement for
another fuli-time Activity Coordinator. Frorn this action by Ryan Eiiiotte he left the residents
without a full-time activities for their daily rehabilitation, which is mandatory.

CONCLUS|ON

From the above explicit statement provided according to the real events as they happened, i
have proven that Elliotte Manor LLC has aided and abetted in an act of race oriented behavior.
Ryan Elliotte, Mr. Grant, Diann Browning, Stacy Cosgrove, and the Activity Coordinator are all
Caucasian and myself is an African American. Ryan Elliotte did not mention Stacy Cosgrove in
his statement because She is not supposed to be around medication yet he had her train _m_e on
t11e o11 iv day l worked 2"°‘ shift (me-llprn). Ryan Elliotte hasg i‘ ven Stacy Cosgrove a rai 'es in

pay and had given her a promotion to work' ln the office afterh er incident from taking a

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controlled substance from a resident from off the cart and she also took the MARs document
for the recorded control substance in order to hide the prescribed medication of the resident
The question is why? At my time during my employment at Elliotte Manor LLC there was only
(3) African Americans and about 87% of the workers were Caucasian.

As you can see from the evidence here i have presented Elliotte Manor has tried to cover-up
the truth by disposing of evidence, concealing evidence, providing false statements, condo|ing
=- to racist behavior, and retaliation in support of racist behavior. Elliotte lVianor LLC has allowed
~ Mr. Grant to remain on the premises and his daughter visiting rights after (2) explicit events of
racist acts, slander, deformation of workers character, discrimination_, and retaliation on their

property towards workers of colon

Without further delay this matter has been properly identified as a race card by the above
Defendant mentioned. Soon after l left Working at Elliotte Manor LLC from my resignation
dated May 2"°' 2017 another African American Muna Gbendah. left within (2) days with only (1)

l hold my peace.

Truthfuliy Yours,

Lisa Antoine (Charging Party)

 

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EXl-ii?>lt` 7

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TOf Lisa R. Antoine Fr€>ml Charlotte District Office
2834 Parkway Avenue, Unlt B ` 129 W. Trade Street
Charlotte, iv'C 28208 Suite 400

Charlotte, NC 28202

|: On behalf of person(s) aggrieved whose identity is
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EEOC:,CH,§FQ.§ N-d,»~#».-..~T-‘Te-»~ ew- " ` _' , fellep'hon"érNO._ 7
430'2017'02086 Hattie W. Murphy, investigator (704) 954'6531
THE E`EOC iS CLOSiNG iTS FlLE ON TH|S CHARGE FOR THE FOLLOWING REASON:

The facts alleged in the charge fail to stale a claim under any of the statutes enforced by the EEOC.

    

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EUUUI

Your allegations did not involve a disability as deflned by the Americans With Disabllities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the Statutes.
Your charge Was not timely filed with EEOC; in other Words, you Waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation. the EEOC is unable to conclude that the
information obtained establishes violations of the statutes This does not certify that the respondent le in oompiie_n_oe with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge

E|:l

Other (briefiy state)

- NOT|CE OF SU|T RIGHTS - v

(Sae the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetio information N.ondisoriminafion .A_ot1 or the Age

Discrimination in Emp|oyment Act: This will be the only notice of dismissal and of your right to sue that we will send you.

You may file a lawsuit against the respondeni(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WiTHiN go DAYS of your receipt of this notice; or your right to sue based on this charge will be
iost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years 13 years)
before you file suit may not be coilectibie.

 

 

 

k n behalf of the Commission
%MA APR 26 2018

Enciosures(s) Rauben D;%-'w{l/S’ -_’ i-@ctm- (Data Maiied}
CC: James Wrenn Jason A. Watson

Hopper Hicks 81 Wrenn SPiELBERGER LAW GROUP

PO Box 247 202 S. Hoover Blvd

111 GiiiiamStreet Tampa, FL 33609

Oxford, NC 27565

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Guidance & l\/iOLls
Overview

Laws

Regulations
Guidance

Memoranda of
Understanding

Discrimination by
Type

Prohibited
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Under the laws enforced by EEOC, it is illegal to
discriminate against someone (appiicant or empioyee)
because of that person‘s race color religion, sex

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pregnancy), national origin, age (40 or oider), disability
or genetic information. lt is also illegal to retaliate
against a person because he or she complained about
discrimination, fried a charge of discrimination, or
participated in an employment discrimination
investigation or lawsuit.

The law forbids discrimination in every aspect of
employment.

The laws enforced by EEOC prohibit an employer ror
<_)t ther covered entity from using neutral employment

particular race, color, religion, sex (lnciuding gender
identity, sexual orientation, and pregnancy), or national
origin, or on an individual with a disability or class of
individuals with disabilities, if the polices or practices at
issue are not job-related and necessary to the
operation of the business. The laws enforced by EEOC

- also prohibit an employer from using neutral

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employment policies and practices that have a
disproportionately negative impact on applicants or

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at issue are not based on a reasonable factor other
than age.

 

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Job Advertlsements ' Erbi§_&_ C_Obdiiiohs

it is illegal for an employer to publish a job Of Em lo mem
advertisement that shows a preference for or

 

discourages someone from applying for a job because

of his or her race, coior, religion, sex (including gender
identity, sexual orientation, and pregnancy), national - grass Code

origin, age (40 or oider), disability or genetic
information '”-“"

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For example, a help-wanted ad that seeks "females“ or LQ Resj§jp,
"recent college graduates" may discourage men and

 

 

 

people over 40 from applying and may violate the lawi

Recruitment

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because of their race, color, religion, sex (including gender 'r
national origin, age (40 or oider), disability or genetic information

For example. an employei“s reliance on word-of-mouih recruitment by its mostly Hispanic work force may
violate the law if the result is that almost ali new hires are Hispanic.

 

cia

it is illegal for an employer to discriminate against a job applicant because of his or her race, color,
religion, sex (including gender identity, sexual orientation, and pregnancy), national origin, age (40 or
oider), disability or genetic infom\ation. For example, an employer may not refuse to give employment
applications to people of a certain race.

An employer may not base hiring decisions on stereotypes and assumptions about a person's race, color,
religion, sex (including gender identity, sexual orientation, and pregnancy), national origin, age (40 or
oider), disability or genetic information

if an employer requires job applicants to take a test, the test must be necessary and related to the job and
the employer may not exclude people of a particular race, coior. religion, sex (including gender identity,
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employer may not use a test that excludes applicants age 40 or older if the test is not based on a
reasonable factor other than age.

if a job applicant with a disability needs an accommodation (such as a sign language interpreter) to apply
for a job, the employer is required to provide the accommodation, so long as the accommodation does not
cause the employer significant difficulty or expense

Background Checks
See ”Pre~EmQ/oyment lrigiigje§" below.

Job Referrals

lt is illegal for an employer. employment agency or union to take into account a person's race, color,
religion, sex (including gender identity, sexual orientation, and pregnancy), hailci`rai Gr’i§lr"r, age (-49 0.'
oider), disability or genetic information when making decisions about job referrals.
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Job Assignments & Promotions

it is illegal for an employer to make decisions aboutjob assignments and promotions based on an
employee's race, color, religion, sex (including gender identity, sexual orientationl and pregnancy),
national origin, age (40 or oider), disability or genetic information For exampie, an employer may not give

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employees of a particular national origin from other employees or from customers

An employer may not base assignment and promotion decisions on stereotypes and assumptions about a
person‘s race, color, religion, sex (including gender identity, sexual orientationl and pregnancy), national
origin, age (40 or oider), disability or genetic information

if an employer requires employees to take a test before making decisions about assignments or
promotions, the test may not exclude people of a particular race, color, religion, sex (including gender
identity, sexual orientation. and pregnancy), or national origin, or individuals with disabilities, unless the
employer can show that the test is necessary and related to the job. in addition, the employer may not use
a test that excludes employees age 40 or older if the test is not based on a reasonable factor other than
age.

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r'ay Hrru B€'r\ er iiS

lt is illegal for an employer to discriminate against an employee in the payment of wages or employee
benefits on the bases of race, color, religion sex (including gender identity, sexual orientation, and

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sick and vacation |eave, insurance, access to overtime as well as overtime pay, and retirement programs
For exampie, an employer many not pay Hispanic workers less than African-American workers because
of their national origin, and men and women in the same workplace must be given equal pay for equal
work.

ln some situations, an employer may be allowed to reduce some employee beneits for older workers, but
only if the cost of providing the reduced benefits is the same as the cost of providing benefits to younger
workers

Discipline 81 Discharge

An employer may not take into account a person‘s race, color, religion, sex (including gender identity,
sexual orientation, and pregnancy), national origin, age (40 or oider), disability or genetic information
when making decisions about discipline or discharge For examplel if two employees commit a similar
offense, an employer many not discipline them differently because of their race, color, religion, sex

(including gender identityl sexual orientation, and pregnancy), national origin, age (40 or oider), disability
or genetic information

When deciding which employees will be laid off, an employer may not choose the oldest workers because
of their age.

Employers also may not discriminate when deciding which workers to recall after a layoff.

Employment References
it is illegal for an employer to give a negative or false employment reference (or refuse to give a

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and pregnancy), national origin, age (40 or oider), disability or genetic information.

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Reasonabie Accommodation & Disability

The law requires that an employer provide reasonable accommodation to an employee or job applicant
with a disability, unless doing so would cause significant difficulty or expense for the employer.

A reasonable accommodation is any change in the workplace (or in the ways things are usually done) to
help a person with a disability apply for a job, perform the duties of a job, cr enjoy the benefits and
privileges of empioyment.

Reasonabie ac--mmodaiion might inc!'_»del for example providing a ramp for a wheelchair user or

providing a reader or interpreter for a blind or deaf employee or applicant.

Reasonabie Accommodation 81 Religion

The law requires an employer to reasonably accommodate an employee's religious beliefs or practices,
unless doing so would cause difficulty or expense for the employer. This means an employer may have to
make reasonable adjustments at work that will allow the employee to practice his or her religion, such as
allowing an employee to voluntarily swap shifts with a co- worker so that he or she can attend religious
services

Training 81 Apprenticeship Programs

lt is illegal for a training or apprenticeship program to discriminate on the bases of race, color, religion, sex
(including gender identity, sexual orientation, and pregnancy), national origin, age (40 or oider), disability
or genetic information For example, an employer may not deny training opportunities to African-American
employees because of their race.

ln some situations, an employer may be allowed to set age limits for participation in an apprenticeship
program.

Harassment

lt is illegal to harass an employee because of race, color, religion, sex (including gender identity, sexual
orientation, and pregnancy)l national origin, age (40 or oider), disability or genetic information

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it is also illegal to harass someone because they have complained about discrimination, hied a charge of
discrimination, or participated in an employment discrimination investigation or lawsuit.

Harassment can take the form of slurs, graffiti, offensive or derogatory comments, or other verbal or
physical conduct Sexual harassment (including unwelcome sexual advances, requests for sexual favorsl
and other conduct of a sexual nature) is also unlawful Although the law does not prohibit simple teasing,
offhand comments, or isolated incidents that are not very serious, harassment is illegal if it is so frequent
or severe that it creates a hostile cr offensive work environment or if it results in an adverse employment
decision (such as the victim being fired or demoted).

The harasser can be the victim's supervisor, a supervisor in another area, a co-worker, or someone who /
is not an employee of the empioyer, such as a client or customer.

Harassment outside of the workplace may also be illegal if there is a link with the workplace For example,
if a supervisor harasses an employee while driving the employee to a meeting.

 

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Terms 81 Conditions Of Employment

The law makes it illegal for an employer to make any employment decision because of a person‘s race,

color, religionl sex (including gender identityl sexual orientation, and pregnancy)l national origin, age (40

or oider), disability or genetic information That means an employer may not discriminate when it comes to
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example when granting breaks, approving leave, assigning work stations, or setting any other term or
condition of employment - however small

7 Pre-Employment inquiries (Generai)

As a general rule, the information obtained and requested through the pre-employment process should be
limited to those essential for determining if a person is qualified for the job; whereas, information
regarding race, sex, national origin, age, and religion are irrelevant in such determinations

Employers are explicitly prohibited from making pre-offer inquiries about disability,

Although state and federal equal opportunity laws do not clearly forbid employers from making pre-
employment inquiries i'nai relate io, or disproportionately screen out members based on race, colorl sex,
national originl religion, or age, such inquiries may be used as evidence of an employer's intent to
discriminate unless the questions asked can be justified by some business purpose

Therefore, inquiries about organizations clubs, societiesl and lodges of which an applicant may be a
member or any other questionsl which may indicate the applicant's race, sex, national origin, disability
status, age, religion, color or ancestry if answered, should generally be avoided.

Similarly, employers should not ask for a photograph of an applicant. if needed for identification purposes,
a photograph may be obtained after an offer of employment is made and accepted

Pre-Employment inquiries and:

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Dress Code

in general, an employer may establish a dress code which applies .to ali employees or employees within
certain job categories However, there are a few possible exceptions.

While an employer may require all workers to follow a uniform dress code even if the dress code conflicts
with some workers' ethnic beliefs or practices, a dress code must not treat some employees less
favorably because of their national origin For example a dress code that prohibits certain kinds of ethnic
dress, such as traditional African or East indian attire. but otherwise permits casual dress would treat

some employees less favorably because of their national origin

v Moreover, if the dress code conflicts with an employee's religious practices and the employee requests an
accommodation the employer must modify the dress code or permit an exception to the dress code
unless doing so would result in undue hardship.

Similarly, if an employee requests an accommodation to the dress code because of his disability, the
employer must modify the dress code or permit an exception to the dress code, unless doing so would
result in undue hardship

Constructive Discharge/Forced To Resign

Discriminatory practices under the laws EEOC enforces also include constructive discharge or forcing an

employee to resign by making the work environment so intolerable a reasonable person would not be able
to stay.

 

 

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